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                                   UNITED STATES DISTRICT COURT
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                                          DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                 )
11                                             )                Case No. 2:17-cr-0077-JCM-NJK
                             Plaintiff(s),     )
12                                             )                ORDER
     v.                                        )
13                                             )
     JOHN AMARALABORDE, et al.,                )
14                                             )
                             Defendant(s).     )
15   __________________________________________)
16          Due to conflicting duties of the Court, the hearing set for May 9, 2017 is ADVANCED in time only
17   to 8:30 a.m.
18          IT IS SO ORDERED
19          Dated: May 4, 2017
20
                                                 ________________________________________
21                                               NANCY J. KOPPE
                                                 United States Magistrate Judge
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